Case 1:18-cv-24100-MGC
Case 1:18-cv-24100-MGC Document
                       Document 61-6
                                62-3 Entered
                                     Entered on
                                             on FLSD
                                                FLSD Docket
                                                     Docket 03/24/2020
                                                            03/26/2020 Page
                                                                       Page 1
                                                                            1 of
                                                                              of 3
                                                                                 3


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     April 5, 2017




     Digna Vinas
     4155 SW 108th Ave
     Miami, FL 33165




     Decedent Name: Rigoberto Vinas
     Certificate Number: 8356627


     Dear Mrs. Vinas:

     We have completed our review of the information received with respect to your claim for
     benefits, under the above life insurance certificate, arising from the unfortunate passing of
     Rigoberto Vinas.

     The certificate was issued on January 26, 2015 with an effective date of January 26, 2015.
     Because the date of death occurred within two years of the effective date, the certificate was
     contestable.

     The Application for Individual Life Insurance was completed by voice signature on January 12,
     2015, in Florida. Our review determined that shortly after Mr. Vinas completed the initial
     application, evidence was found that Mr. Vinas had a history of Diabetes. This had not been
     disclosed on the application. In response to those findings, we requested Mr. Vinas complete
     a Diabetes Questionnaire, which he completed and signed on January 15, 2015. By signing
     the completed questionnaire, Mr. Vinas was declaring:

            “I declare that I have read this Diabetes Questionnaire and represent that the
            information provided, as shown in this questionnaire, is true, and is a complete
            disclosure of all information requested in this questionnaire, to the best of my
            knowledge and belief. I understand and agree that this questionnaire is part of and
            subject to the Application. I also understand and agree that the information provided
            in this questionnaire will be relied upon as evidence of insurability that will influence
            the assessment and acceptance of the application by Foresters.”

     We have concluded our review of the information obtained during our contestable claim
     investigation. Our findings are as follows:

            Question 7 of the Diabetes Questionnaire asks:

            “7. Related to this condition [Diabetes], have you ever had:

                     …




                                    EXHIBIT "C"                                                   IOF-000046
Case 1:18-cv-24100-MGC
Case 1:18-cv-24100-MGC Document
                       Document 61-6
                                62-3 Entered
                                     Entered on
                                             on FLSD
                                                FLSD Docket
                                                     Docket 03/24/2020
                                                            03/26/2020 Page
                                                                       Page 2
                                                                            2 of
                                                                              of 3
                                                                                 3

                iv) Kidney problems (including protein in your urine)?
                v) Sensory problems (such as burning in your feet)?”

  Mr. Vinas answered “No” to the above questions. Based on the information found during our
  contestable investigation, the answers to the sections of this question should have been
  “Yes”.

  The medical information we received during our claim investigation indicates that Mr. Vinas
  had a history of Diabetic Nephropathy and Neuropathy. We found these conditions were
  present during the time period stated in the question, including but not limited to 2014-2015,
  and should have been disclosed at the time the application and questionnaire was completed.

  In addition, Question 11 of the Diabetes Questionnaire and the answer provided was:

         “[Question] - Please provide any additional information that you feel is important in
         relation to this condition:

         [Answer] – Proposed insured had a medical exam done for an insurance policy in
         2012. The medical examiner told him that he had Diabetes. After following up with
         his primary doctor and doing additional testing he concluded that the proposed
         insured did not have Diabetes. He’s never taken medication or had treatment for this
         condition.”

  The medical information we reviewed further indicated that Mr. Vinas had been diagnosed as
  having Diabetes at the time the application was taken, as well as previously including during
  2014. We found that his then-present diagnosis of Diabetes should have been disclosed at
  the time the application and questionnaire was completed.

  Foresters relied on Mr. Vina’s responses in the application and the questionnaire when it
  subsequently issued this certificate. The information sought by Foresters in the application
  and questionnaire was material to our decision to issue this certificate. Had accurate and
  complete information regarding Mr. Vinas’’ health and medical treatment been disclosed at the
  time the application and questionnaire was completed, the certificate would not have been
  issued as applied for.

  For the reasons set out above, we are rescinding the certificate issued on the life of Mr.
  Vinas, certificate number 8356627. As a result, no death benefit is payable under this
  certificate.

  Enclosed is our check # 508553 in the amount of $11,448.00 representing all premiums paid
  for certificate number 8356627.

  Foresters reserves all rights and defences, including any and all claims and defences that it
  may have or further discover, whether or not expressly stated herein, concerning this claim
  for certificate benefits. Nothing in this letter or any other communication that you have
  received, or will receive from us, should be interpreted as waiving or prejudicing any of our
  rights and defences under the certificate, including any and all claims and defences as
  aforementioned.




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Case 1:18-cv-24100-MGC
Case 1:18-cv-24100-MGC Document
                       Document 61-6
                                62-3 Entered
                                     Entered on
                                             on FLSD
                                                FLSD Docket
                                                     Docket 03/24/2020
                                                            03/26/2020 Page
                                                                       Page 3
                                                                            3 of
                                                                              of 3
                                                                                 3

  If you have any medical or other information that you think would show that the conclusions
  arrived at, as described above, are incorrect or incomplete, we ask that you provide us with
  all such information so we may conduct a further review. Please send it to my attention at the
  address noted above.

  If you have any additional concerns or questions, please contact me at (800) 828-1540,
  extension 4724.

  Sincerely,




  Lisa Buckland
  Senior Claims Adjudicator
  Claim Services




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